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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 FORT SMITH DIVISION


UNITED STATES OF AMERICA                                                                 PLAINTIFF


 vs.                                                   Cr. No. 2:03CR20010-001


GLORIA DARLENE GOMEZ                                                                   DEFENDANT


                                ORDER FOR REMISSION OF FINE


       Now on this 14th day of September, 2010, comes on to be considered the United States'

Petition for Remission of Fine. The Court, being well and sufficiently advised, finds and orders as

follows with respect thereto:

       1. On August 1, 2003, Defendant was sentenced to twenty-one months incarceration, four

years of supervised release, a $100.00 special assessment and a $1,500.00 fine.

       2. The United States moves to remit Defendant's fine pursuant to 18 U.S.C. § 3573, which

provides:

       Upon petition of the Government showing that reasonable efforts to collect a fine...
       are not likely to be effective, the court may, in the interest of justice - -

       1) remit all or part of the unpaid portion of the fine or special assessment, including interest
       and penalties. This statute shall apply to all fines and assessments, irrespective of the date
       of imposition."

       3. The United States has been unable to collect the remaining fine balance of $292.00, and

that there is no reasonable likelihood that the fine can be collected.

       4. Upon due consideration, the United States' Petition for Remission of Fine is hereby

granted and Defendant's fine is remitted.
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      IT IS SO ORDERED.



                                         /s/ Robert T. Dawson
                                         HONORABLE ROBERT T. DAWSON
                                         UNITED STATES DISTRICT JUDGE
